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                                                                        1       ROGER P. CROTEAU, ESQ.
                                                                                Nevada Bar No. 4958
                                                                        2       CHET GLOVER, ESQ.
                                                                        3       Nevada Bar No. 10054
                                                                                ROGER P. CROTEAU & ASSOCIATES, LTD
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                                                                                Las Vegas, Nevada 89102
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                                                                                croteaulaw@croteaulaw.com
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                                                                        8                                UNITED STATES DISTRICT COURT
                 Telephone: (702) 254-7775 • Facsimile (702) 228-7719




                                                                        9                                    DISTRICT OF NEVADA
ROGER P. CROTEAU & ASSOCIATES, LTD.




                                                                 10
                                                                                 THE BANK OF NEW YORK MELLON            Case No: 2:17-CV-02061-JAD-DJA
                                                                 11              FKA THE BANK OF NEW YORK, AS
                                                                                 TRUSTEE FOR THE
                                                                 12              CERTIFICATEHOLDERS OF CWABS
                                                                                 INC., ASSET -BACKED CERTIFICATES,
                                                                 13
                                                                                 SERIES 2007-10, a national bank,
                                                                 14
                                                                                            Plaintiff,                  STIPULATION TO SUBSTITUTE
                                                                 15                                                     ATTORNEYS
                                                                                 vs.
                                                                 16
                                                                 17              MONACO LANDSCAPE
                                                                                 MAINTENANCE ASSOCIATION, INC., a
                                                                 18              Nevada corporation; SATICOY BAY LLC,
                                                                                 SERIES 8326 STERLING HARBOR, a
                                                                 19              Nevada limited liability company,
                                                                 20
                                                                                           Defendants.
                                                                 21
                                                                 22                    ALL RELATED MATTERS
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                                                                        1                  Defendant/Counterclaimant Saticoy Bay LLC, Series 8326 Sterling Harbor, substitutes
                                                                        2       Roger P. Croteau, Esq. and Chet A. Glover, Esq., of Roger P. Croteau & Associates, Ltd., as its
                                                                        3
                                                                                attorneys in the above-captioned matter in the place and stead of Michael F. Bohn, Esq. and Adam
                                                                        4
                                                                                R. Trippiedi, Esq., of Law Offices of Michael F. Bohn, Esq., Ltd.
                                                                        5
                                                                                                                             Dated this ___ day of July 2020.
                                                                        6
                                                                        7                                                    By:
            • 2810 West Charleston Blvd, Suite 75 • Las Vegas, Nevada 89102 •




                                                                                                                             Eddie Haddad as trustee of Bay Harbor Trust, Bay Harbor
                                                                        8                                                    Trust as manager of Saticoy Bay LLC, Series 8326 Sterling
                 Telephone: (702) 254-7775 • Facsimile (702) 228-7719




                                                                                                                             Harbor
                                                                        9
ROGER P. CROTEAU & ASSOCIATES, LTD.




                                                                 10
                                                                                           Michael F. Bohn, Esq. and Adam R. Trippiedi, Esq., of Law Offices of Michael F. Bohn,
                                                                 11
                                                                                Esq., Ltd., consent to the foregoing substitution of attorneys for Defendant/Counterclaimant Saticoy
                                                                 12
                                                                                Bay LLC, Series 8326 Sterling Harbor.
                                                                 13
                                                                 14                                                          Dated this 16th day of July, 2020.

                                                                 15                                                          LAW OFFICES OF MICHAEL F. BOHN, ESQ.,
                                                                                                                             LTD
                                                                 16
                                                                 17                                                          /s/ Michael F. Bohn 1
                                                                                                                             Michael F. Bohn, Esq.
                                                                 18                                                          Nevada Bar No. 1641
                                                                                                                             Adam R. Trippiedi, Esq.
                                                                 19                                                          Nevada Bar No. 12294
                                                                 20                                                          2260 Corporate Circle, Suite 480
                                                                                                                             Henderson, Nevada 89074
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                                                                        1              Roger P. Croteau, Esq. and Chet A. Glover, Esq., of Roger P. Croteau & Associates, Ltd.
                                                                        2       consent to the foregoing substitution of attorneys for Defendant/Counterclaimant Saticoy Bay LLC,
                                                                        3
                                                                                Series 8326 Sterling Harbor
                                                                        4
                                                                                                                    Dated this 16th day of July, 2020.
                                                                        5
                                                                                                                    ROGER P. CROTEAU & ASSOCIATES, LTD.
                                                                        6
                                                                        7                                           /s/ Chet A. Glover
            • 2810 West Charleston Blvd, Suite 75 • Las Vegas, Nevada 89102 •




                                                                                                                    Roger P. Croteau, Esq.
                                                                        8                                           Nevada Bar No. 4958
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                                                                                                                    Chet A. Glover, Esq.
                                                                        9                                           Nevada Bar No. 10054
ROGER P. CROTEAU & ASSOCIATES, LTD.




                                                                 10                                                 2810 W. Charleston Blvd., Ste. 75
                                                                                                                    Las Vegas, Nevada 89102
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                                                                 13                       IT IS SO ORDERED.
                                                                 14                       DATED: July 17, 2020.
                                                                 15
                                                                 16                                               __________________________________
                                                                                                                  Daniel J. Albregts
                                                                 17
                                                                                                                  United States Magistrate Judge
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                                                                        1                                     CERTIFICATE OF SERVICE
                                                                        2             I hereby certify that on July 16th, 2020, I served the STIPULATION TO SUBSTITUTE
                                                                        3
                                                                                ATTORNEYS via the United States District Court CM/ECF electronic filing system.
                                                                        4
                                                                                                                         /s/ Joe Koehle
                                                                        5                                                An employee of ROGER P.            CROTEAU &
                                                                                                                         ASSOCIATES, LTD.
                                                                        6
                                                                        7
            • 2810 West Charleston Blvd, Suite 75 • Las Vegas, Nevada 89102 •




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ROGER P. CROTEAU & ASSOCIATES, LTD.




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